                  Case 1:02-cr-05301-DAD Document 476 Filed 01/18/06 Page 1 of 3



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      5   Attorney for Defendant,
          TRENT HARIACZYI
      6

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      8                         IN THE UNITED STATES DISTRICT COURT
      9                      EASTERN DISTRICT OF CALIFORNIA, FRESNO
     10                                           * * * * *
     11
                                                     ) Case No.: CR-F-02-5301 OWW
     12   UNITED STATES OF AMERICA,                  )
                                                     ) STIPULATION FOR CONTINUANCE OF
     13                Plaintiff,                    ) SENTENCING AND PROPOSED ORDER
                                                     ) THEREON
     14        vs.                                   )
          TRENT HARIACZYI,                           )
     15                                              )
                       Defendant.                    )
     16                                              )
     17

     18          IT IS HEREBY STIPULATED between the Defendant, Trent Hariaczyi,
     19   by   and    through   his    attorney-of-record,      Anthony      P.   Capozzi,   and
     20   Plaintiff, by and through Assistant United States Attorney, David
     21   Gappa, that the Sentencing hearing now scheduled for January 30,
     22   2006   be   vacated    due   to   the    inability   to   obtain    a   Psychological
     23   report from Dr. Carol Munschauer, Ph.D. prior to the time in which
     24   to file Formal Objections to the Presentence Investigation Report.
     25          The parties further stipulate as follows:
     26          1.    The Sentencing date of January 30, 2006 be vacated and
     27                continued to March 6, 2006 at 1:30 p.m.
     28

                                                    - 1 –
                                                                      Stipulation for Continuance
                                                                                      02-5304 OWW

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                   Case 1:02-cr-05301-DAD Document 476 Filed 01/18/06 Page 2 of 3



      1         2.     The Presentence Investigation Report will be available on
      2                February 1, 2006.
      3         3.     Informal Objections to be filed by February 13, 2006.
      4         4.     Formal Objections to be filed by February 27, 2006.
      5                                          Respectfully submitted,
      6

      7   Dated: January 13, 2006
      8                                               /s/ Anthony P. Capozzi
                                                 ANTHONY P. CAPOZZI,
      9
                                                 Attorney for Defendant,
     10                                          Trent Hariaczyi

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     13
          Dated:     January 13, 2006
                                                      /s/ David Gappa
     14                                          DAVID GAPPA
                                                 Assistant United States Attorney
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                                                                    Stipulation for Continuance
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                   Case 1:02-cr-05301-DAD Document 476 Filed 01/18/06 Page 3 of 3



      1                                            ORDER
      2

      3          IT IS SO ORDERED.         Good cause having been shown, the hearing
      4   set for January 30, 2006, is vacated and continued to March 6, 2006
      5   at 1:30 p.m.        Additionally, time shall be excluded by stipulation
      6   from   the    parties    and   pursuant     to    18   USC   §§   3161(h)(8)(A)      and
      7   3161(h)(8)(B)(ii).
      8   Dated:     January _17__, 2006
      9                                          /s/ OLIVER W. WANGER
     10
                                                 Honorable Oliver W. Wanger
     11                                          United States District Court Judge

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                                                                        Stipulation for Continuance
                                                                                        02-5304 OWW

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